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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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				Go to Today june, 2017
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				26jun10:00 am- 4:00 pmOral Arguments
							Event DetailsMonday, June 26, 2017
10:00 AM
S17A1317 Women's Surgical Center, LLC et al. v. Berry et al.
S17X1318 Berry et al. v. Women's Surgical Center, LLC et al.
S17A1024 Tanner v. The State
S17A1064 [...]
							
							
									Event Details
									Monday, June 26, 2017
10:00 AM
S17A1317 Women’s Surgical Center, LLC et al. v. Berry et al.
S17X1318 Berry et al. v. Women’s Surgical Center, LLC et al.
S17A1024 Tanner v. The State
S17A1064 Shelley v. Town of Tyrone
2:00 PM
S17A1141 Brown v. The State
S17A1103 Brewner v. The State
S17A1265 The State v. Cohen et al.


								
							
						
						
							
							
								
									
																
										Time(Monday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

							Recent News &amp; Reports		
					
				6/22/17 – JUDGE BETHEL TO HEAR GEORGIA SUPREME COURT CASE
						
				
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